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7
                            UNITED STATES DISTRICT COURT
8
                          SOUTHERN DISTRICT OF CALIFORNIA

9
      UNITED AFRICAN-ASIAN                    Case No: '24CV0280 W        KSC
10    ABILITIES CLUB, ON BEHALF
11
      OF ITSELF AND ITS                       COMPLAINT
      MEMBERS; JAMES LEE, An
12    Individual                              DISCRIMINATORY
13                                            PRACTICES
                          Plaintiffs,         [US Fair Housing Act of 1988 [42
14
                                              U.S.C. §§ 3600 et seq, §3604(c),
15          v.                                §3604(f)(1-3), et seq.; CA
                                              Government Code 12925, 12927,
16
      WISCONSIN EP, LLC; AND                  12955; CA Civil Code §§ 51, 52,
17    DOES 1 THROUGH 10, Inclusive            54.3
18
                          Defendants.         DEMAND FOR JURY TRIAL
19

20
                                        INTRODUCTION
21
     1.    Plaintiffs make the following allegations in this civil rights action:
22                              JURISDICTION AND VENUE
23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
25
     apartment property consist of four (4) or more residential units), and 42 U.S.C. §
26
     12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
27
     United States District Court for the Southern District of California pursuant to 28
28

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1
     U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
2
     Judicial District.
3
                              SUPPLEMENTAL JURISDICTION
4
     3.      This United States District Court for the Southern District of California has
5
     supplemental jurisdiction over the California state claims as alleged in this
6
     Complaint pursuant to 28 U.S.C. § 1367(a).
7
                    NAMED DEFENDANTS AND NAMED PLAINTIFFS
8
     4.    The term Plaintiffs as used herein specifically include the corporate Plaintiff
9
     entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
10
     Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
11
     Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
12
     Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
13
     to as the “named Plaintiffs” or “Plaintiffs”.
14
     5.    Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
15
     good standing as a Nevada corporation. The named individual Plaintiff LEE is a
16
     member of the Plaintiff Club organization.
17
     6. Plaintiffs are informed, believe, and thereon allege that named Defendant
18
     WISCONSIN EP, LLC and is the operator of the apartment rental business known as
19
     Wisconsin Terrace Apartments located at 299 Wisconsin Avenue El Cajon, CA
20
     92020. Plaintiffs are informed, believe, and thereon allege that Defendant
21

22
     WISCONSIN EP, LLC, is the owner, operator, and/or lessor of the real property

23
     located at 299 Wisconsin Avenue El Cajon, CA 92020 (hereinafter referred to as the

24
     “Property”).

25
     7.    Defendant WISCONSIN EP, LLC, is, and at all times mentioned herein were,

26
     a business or corporation or franchise, organized and existing and/or doing business

27
     under the laws of the State of California. Defendants Does 1 through 10, were at all

28

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1
     times relevant herein subsidiaries, employers, employees, and/or agents of the named
2
     Defendants.
3
                                  CONCISE SET OF FACTS
4
     8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
5
     for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
6
     Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
7
     dates wherein he intended to go the Defendant’s Property to access Defendants’
8
     rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
9
     and communication barriers at Defendants’ Property. Plaintiff Lee determined that
10
     the open and obvious physical barriers that exist at Defendants’ Property directly
11
     related to his disabilities, and that it would be impossible or extremely difficult for
12
     him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
13
     Lee had knowledge of access barriers at the Property and determined that it would be
14
     futile gesture for him to go to the Property on the date that he had intended. The
15
     named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
16
     and communication barriers that exist at Defendants’ Property and also Defendants’
17
     website communication barriers. As used herein, website means any internet website
18
     where Defendants control the content. Exhibit B states the websites controlled by
19

20
     Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

21
     Defendants websites but experienced great difficulty due to Defendants’ failure to

22
     provide accessible website features.

23
     9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

24
     access Defendants’ online rental services, but had great difficulty due to his

25
     disabilities. The named Individual Plaintiff Lee also could not determine from

26
     Defendants’ website content whether Defendants’ rental services at the property or
27   off the property, and common areas at the property were physically accessible to
28

                      3
                                                                                 COMPLAINT
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1
     him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
2
     obtain information regarding the physical accessibility of Defendants’ rental services
3
     at the property and off-site. In response to the named Individual Plaintiff’s request,
4
     Plaintiff Club sent one of its members to Defendants’ property. The named
5
     Individual Plaintiff personally reviewed all the information and photographs of
6
     Defendants’ property. As a result, the named Individual Plaintiff has actual
7
     knowledge of the overt and obvious physical and communication barriers to
8
     Defendants rental service at Defendants’ Property. The named Individual Plaintiff
9
     determined that the open and obvious physical barriers that exist at Defendants’
10
     Property directly related to his disabilities, and that it would be impossible or
11
     extremely difficult for him to physically access Defendants’ on-site rental services.
12
     See ¶¶ 25. The named Individual Plaintiff Lee had actual knowledge and determined
13
     that it would be futile gesture for him to go to the Property on the date that he had
14
     intended. The named Individual Plaintiff was deterred by his actual knowledge of
15
     the physical and communication barriers that exist at Defendants’ Property and
16
     website. The named Individual Plaintiff made a written request to Defendants’ for
17

18
     an accommodation to have equal access to Defendants’ rental services and to

19
     eliminate the communication and physical barriers to Defendants’ rental services,

20
     both online and at the property. At the end of this action, the named Individual

21
     Plaintiff Lee intends to return to Defendants’ website and Defendants’ property to

22
     obtain rental information and verify that the communication and physical barriers to

23
     Defendants’ rental services are removed.

24
     10.   The named Plaintiff Club is an organization that advocates on the behalf of its

25
     members with disabilities when their civil rights and liberties have been violated.

26
     Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment

27
     Property in January, 2024, and in February, 2024. The named Plaintiffs investigated

28

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1
     Defendants apartment property and Defendants websites. Plaintiff Club member
2
     Sharon Riguer investigated the Property on the Internet websites. Additional
3
     Plaintiff Club members investigated Defendants websites and found that they did not
4
     provide equal access. The results of the research from Club Member Sharon Riguer
5
     are contained in the Exhibit B to this Complaint. Club members ascertained that
6
     Defendants’ rental services at Defendants Property were not physically accessible to
7
     Plaintiff Lee by a Club member with a disability who went to Defendants’ apartment
8
     Property, and said Club member attempted to access Defendants’ on-site rental
9
     services.
10
     11.   Plaintiff Club diverted its time and resources from its normal purposes
11
     because of Defendants’ service, policy, program and physical barriers to Defendants
12
     rental services at Defendants’ websites and Property. Club personnel conducted
13
     detailed Internet searches to determine if Defendants provide large print, deaf
14
     interpreter, therapy animal, the required reasonable accommodation policy, and
15
     required reasonable modification policy. Further, the Club retained contractors to
16
     investigate said policies, to survey the property, to photograph the property, to
17
     investigate when the Property was constructed, to investigate the Property ownership
18
     and to have an access report prepared. Plaintiff Club also diverted staff to
19
     investigate Defendants' Internet presence to determine compliance with the FHA and
20
     ADA. Plaintiff Club also investigated Defendants' written rental materials such as
21

22
     brochures, rental applications and leases. Moreover, Plaintiff Club made an oral

23
     investigation to ascertain Defendants' companion animal, deaf interpreter and

24
     reasonable accommodation and reasonable modification policies. Plaintiff Club also

25
     caused a physical access consultant to be retained to survey Defendants' facility.

26
     Plaintiff Club’s findings regarding Defendants’ rental services and facilities were

27
     incorporated into an Access Report. The Access Report also details the known overt

28

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1
     and obvious physical access violations at the Property, but it is not intended as an
2
     exhaustive list of existing violations. Due to these necessary activities to investigate,
3
     Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
4
     Club suffered injury and also suffered monetary damages due to the diversion of the
5
     Club’s resources from its normal purposes.
6
     12.   Plaintiffs allege that Defendants control, operate, and maintain web pages at
7
     different apartment websites where Defendants offer its rental services.
8
     Additionally, Defendants provide rental services located at the Property.
9
     13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
10
     physical site rental services because the websites refer to Defendants’ rental services
11
     that are offered at Defendants’ property as well as elsewhere off the site. Therefore,
12
     Plaintiffs allege that the websites are also places of public accommodation.
13
     Defendants control the websites to the extent that Defendants can change the website
14
     content to make modifications to comply with the FHA and ADA. Therefore,
15
     Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
16
     improve access for Plaintiffs and people with disabilities.
17
     14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
18
     TTY number or the text messaging system for Plaintiffs and other people that are
19
     deaf or people with speech conditions. Plaintiff Club members have a speech
20
     disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
21

22
     websites to eliminate non-readable text to allow the blind and people with low vision

23
     to use the screen reader software to access the information on the website, yet they

24
     also failed to use large print on their websites. See Exhibit B to this Complaint.

25
     Plaintiffs assert that most popular screen reader programs are called Jobs Access

26
     With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions

27
     discriminate against Plaintiff Club, specifically Club members who have low vision

28

                      6
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1
     disabilities. Each of the Club members above cannot use the websites controlled by
2
     the Defendants. Modifications to Defendants’ websites will not fundamentally alter
3
     the rental services provided and will also not cause an undue burden to Defendants,
4
     because the cost is less than One Thousand Dollars ($1,000).
5
     15.   On January 7, 2024, and on a second subsequent date, Plaintiff Club attempted
6
     to make a request to the Defendants for reasonable accommodation at the property.
7
     On January 24, 2024, the named individual Plaintiff LEE and Plaintiff Club emailed
8
     to the Defendants a written request for a reasonable accommodation. In February,
9
     2024, Plaintiff LEE and Plaintiff Club, mailed a written request for a reasonable
10
     accommodation. Defendants failed to respond to both Plaintiffs requests for
11
     reasonable accommodation as of the date of the filing of this Civil Complaint.
12
     16.   Plaintiffs are not able to access Defendants rental services due to existing
13
     overt and obvious communication and physical barriers to access Defendants’ rental
14
     services both at its online website and at the property. Due to the overt and obvious
15
     physical barriers as alleged herein below, which are required to be removed,
16
     Plaintiffs requested that Defendants accommodate them to provide access to
17

18
     Defendants’ rental services.
     17.   The named Plaintiffs allege that an accommodation is also obvious when a
19
     whole group of the protected persons requires it. For example, when the public
20
     without disabilities are required to get up to a second level, the public would be very
21

22
     disturbed if they were required to request steps to go up to second level. When the

23
     accommodation is specific to a particular person with a disability, then that person

24
     may be required to make a request, because the accommodation is not obvious.

25
     18.   Plaintiffs allege that they are not required to make a request for reasonable

26
     accommodation and for auxiliary aids when the barriers to communication are overt

27
     and obvious. However, in the present case, Plaintiffs did make such requests for

28

                      7
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1
     accommodation to eliminate overt and obvious barriers to its rental services
2
     communications. Plaintiffs allege that providing effective contact information for
3
     Defendants’ rental services on the internet is an obvious accommodation. The
4
     general public does not need to request a contact number from the Defendant
5
     apartment owner or operator when they desire to rent a place. Defendants provide the
6
     contact number on their website. Therefore, Plaintiffs allege that Defendants are
7
     required to provide the obvious accommodation of effective communication for
8
     people that are deaf or with speech impediment on their website without a request.
9
     Defendants must make their rental services accessible without the need for a prior
10
     request. Furthermore, Defendants have a duty to remove architectural barriers and
11
     communication barriers to their rental services without request.
12
     19. Plaintiffs allege that there is disparate treatment on the internet related to the
13
     amenities being offered to people without disabilities and people with disabilities.
14
     All the below facts and the facts stated elsewhere herein have a disparate impact on
15
     the disability community. The named Plaintiffs experienced and have knowledge of
16
     the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
17
     operates an apartment property. The property is located at 299 Wisconsin Ave, El
18
     Cajon, CA 92020. The property was built in 1986 and has 2 stories with 22 units.
19
     The internet provides a wealth of information regarding the property. The internet
20
     advertises that the property has amenities that include: Community Amenities:
21

22
     Laundry Facilities, Public Transportation, Storage Space; Apartment Features:

23
     Highlights: High Speed Internet Access, Air Conditioning, Ceiling Fans, Smoke

24
     Free, Cable Ready; Kitchen Features & Appliances: Dishwasher, Disposal, Pantry,

25
     Kitchen, Microwave, Oven, Range, Refrigerator, Freezer; Floor Plan Details:

26
     Hardwood Floors, Carpet, Vinyl Flooring, Dining Room, Family Room, Window

27
     Coverings, Balcony, Patio; Application Fee $40; Parking: Surface Lot: 1 space;

28

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                                                                                  COMPLAINT
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1
     Details: Lease Options: 12 months. The property advertises on rentcafe.com,
2
     zillow.com, trulia.com, apartmentfinder.com, apartmentratings.com,
3
     apartmenthomeliving.com, forrent.com. It is very important to know that on
4
     rentcafe.com, zillow.com, trulia.com, apartmentfinder.com, apartmentratings.com,
5
     apartmenthomeliving.com, forrent.com there is the equal housing opportunity logo.
6
     The plaintiff alleges that there is disparate treatment on the internet related to the
7
     amenities being offered to people without disabilities and people with disabilities.
8
     For example, the tow signage was not installed. The accessible parking space had an
9
     access aisle, which was not van accessible. The aisle did not have the “no parking”
10
     included in the access aisle. The office had a high threshold. There was no
11
     International Symbol of Accessibility signage. The Internet does not state the
12
     accessible amenities at all. Also, the statement the “equal housing opportunity
13
     statement” is misleading. In fact, the property is not completely accessible. All the
14
     above facts and the facts stated herein have a disparate impact on the disability
15
     community.
16
     20.   On Defendants’ websites, they allow the public without deafness and without
17

18
     speech impairments to participate by providing them with a telephone number to

19
     call. However, Plaintiff Club members that are deaf and or with speech impairments

20
     are denied equal access to participate because the Defendants do not have any

21
     effective communication.

22
     21.   Defendants provide websites for people without disabilities to benefit from the

23
     rental services without going to the apartments to learn about the properties.

24
     However, for people with disabilities that require the access to the facility, the
25   Defendants do not provide any information on the websites regarding if the rental
26   services located both on or off the property are accessible. Moreover, the Defendants
27   provide the telephone number for the public to call to inquire about the rental
28

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 1
     services without providing any effective alternative communications for Plaintiffs
 2
     and other people that are deaf or have speech impairments.
 3
     22.   For people without disabilities, the Defendants provide all of the information
 4
     on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
 5
     the Property to determine if it is accessible, then require them to request the effective
 6
     communication, and then thereafter to request a reasonable accommodation to the
 7
     overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
 8
     and other people with disabilities to suffer a separate benefit.
 9
     23.   Additionally, the named Plaintiffs are alleging photograph discrimination
10
     related to the physical access of each of the apartments within Exhibit B to this
11
     complaint. The purpose of Defendants’ internet photographs is to entice perspective
12
     renters to apply online or to contact the Defendants to rent a place. Defendants’
13
     internet photographs only entice people without mobility disabilities. Defendants’
14
     internet photographs exclude any photographs of any accessible features that would
15
     aid the Plaintiffs. For example, there is no photograph of accessible parking. There
16
     are no photographs of the accessible route to the rental services both on or off the
17

18
     property. There are photographs of the accessible route to the rental services. There

19
     are no photographs related to the access to get into and use the rental services. There

20
     are no photographs related to the accessible route of the common area. There are no

21
     photographs of the accessible units. In fact, all the photographs lead a person with a

22
     mobility disability to believe that the apartments are not accessible, or that they must

23
     have someone go to the properties to make sure it is accessible. However, people

24
     without disabilities are not required to go to the Property to see if it is accessible.
25   24.   Defendants websites and Defendants’ rental services are not integrated for
26   people with disabilities as required. Plaintiffs are required to request an
27   accommodation. People without disabilities can access the websites and the rental
28

                      10
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 1
     services without any problem, but Plaintiffs and other people with disabilities are
 2
     required to request for separate rental services. People with mobility conditions are
 3
     not integrated when using the websites because they must go to the apartments to
 4
     determine if they are accessible, but people without disabilities need only access
 5
     Defendants’ websites to determine they can use them. People that are blind and with
 6
     low vision disabilities must request help to read the website information because the
 7
     printed information is too small, but people without disabilities can access the
 8
     websites without asking for help. Plaintiffs and other people with deafness or people
 9
     with speech condition must ask for help calling the number on the websites, because
10
     Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
11
     texting system. Defendants discriminated against the Plaintiffs.
12
     25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
13
     in January, 2024, and on a second subsequent date, to access the rental services
14
     office. The Named Individual Plaintiff has actual knowledge of Defendants’ overt
15
     and obvious physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’
16
     Property on-site rental services office that this Named Individual Plaintiff intended to
17
     visit in January, 2024, and on a second subsequent date, but this Plaintiff was
18
     deterred from accessing Defendant’s rental services office located on the Property.
19
     Defendants provide rental information, rental applications, and other rental services
20
     on-site at the Property. Defendants’ agents confirmed to the Plaintiffs that rental
21
     information, rental applications, and other rental services were available on-site at
22
     the Property. Defendants’ rental services office at the Property is not accessible.
23
     Defendants’ path of travel from the sidewalk to the rental services office is not
24
     accessible since it has step changes in level along the path. There are numerous step
25
     changes in level and uneven surfaces that must be traversed to access Defendant’s
26
     rental services office. Defendants do not provide the required directional signage as
27
     to the designated path of travel from the sidewalk to Defendant’s rental services
28

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 1
     office. Defendant’s rental services office entrance is not accessible due to a
 2
     significant step change in level at the rental services office door threshold that is not
 3
     beveled or ramped. Defendant’s rental services office entrance door fails to have the
 4
     required strike edge clearance and smooth and level landing of sufficient dimensions.
 5
     Defendant’s rental services office entry door fails to have the required smooth and
 6
     uninterrupted surface at the bottom of the door. Additionally, Defendant’s rental
 7
     services office entry door operating hardware is a round knob. The document drop
 8
     box at Defendant’s rental services office entrance is mounted too high to be
 9
     accessible. The Named Individual Plaintiff has mobility disabilities and these step
10
     changes in level and the other stated issues cause the path of travel and the rental
11
     services office entry to be not accessible. Defendants failed to provide any
12
     directional signage indicating an alternate accessible path of travel to the rental
13
     services office. Defendants failed to provide the required fully compliant van
14
     accessible disabled parking for the rental services office. Defendants failed to
15
     provide a dimensionally compliant van accessible disabled parking space and
16
     disabled parking access aisle, the required disabled parking signage, including tow
17
     away signage, fine signage, ground markings, and failed to locate said parking on a
18
     level surface and nearest the rental services office. Defendants also failed to provide
19
     compliant tow away signage. The Named Individual Plaintiff requires the use of a
20
     compliant van accessible disabled parking space to safely exit and re-enter the
21
     vehicle. Defendants’ failure to provide the required compliant disabled parking,
22
     disabled parking access aisle, disabled parking disability signage, access aisle, and
23
     disability ground markings, such that the Named Individual Plaintiff is not able to
24
     safely park at Defendants’ establishment since the individual Plaintiff may be
25
     precluded from exiting or re-entering the vehicle if the disabled parking and disabled
26
     parking signage is not present and others park improperly. Additionally, Defendants
27
     failed to provide the required accessible path of travel from the parking area to the
28

                      12
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 1
     rental services office since the existing path of travel has step changes in level.
 2
     Additionally, Defendants overt and obvious communication barriers were also
 3
     present at the rental services office in January, 2024, and on a second subsequent
 4
     date. Defendants failed to provide any method of text communication with their
 5
     rental services office and failed to publish any information as to how to initiate text
 6
     communication contact. The Named Individual Plaintiff had actual knowledge of
 7
     these barriers at Defendants’ Property that Plaintiff intended to visit, and the Named
 8
     Individual Plaintiff was deterred from accessing Defendants’ rental services office at
 9
     the Property again in February, 2024. See Property photos in Exhibit B and Exhibit
10
     C.
11
     26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
12
     Defendants’ rental services at Defendants’ property and Defendants’ websites are
13
     fully accessible to Plaintiff Club’s members, the named Individual Plaintiff, and
14
     other people with disabilities. Plaintiff Club, its Club members, and the named
15
     Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
16
     conditions, and they are currently deterred from attempting further access until the
17
     barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
18
     return to Defendants’ Property and Defendants websites at the end of this action to
19
     obtain rental services, and to verify that the communication and architectural barriers
20
     are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
21
     Club has numerous members residing near Defendants Property. Plaintiff Club’s
22
     members have actual knowledge of the discriminatory conditions as alleged herein
23
     when the Plaintiff Club investigated the Property and the rental services and
24
     determined that the Club members would not be able to use the rental services due to
25
     the discriminatory conditions. Therefore, Plaintiff Club members were and are
26
     deterred from visiting the properties. Plaintiff Members were not required to
27

28

                      13
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 1
     actually visit the properties. See Civil Rights Education & Enforcement Center v.
 2
     Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
 3
     Plaintiff Cub did visit and attempt to access Defendants’ rental services at
 4
     Defendants’ property. Plaintiff Club and the individual Plaintiff have specific plans
 5
     to visit at the conclusion of this case to obtain rental information and to verify the
 6
     Defendants ceased its discriminatory conduct by removing communication and
 7
     physical barriers to access to the rental services.
 8

 9
      DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –
10
     FAIR HOUSING ACT CLAIMS
11
     27.   FHA Standing:
12
           Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
13
     complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
14
     3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
15
     named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
16
     named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
17
     other relief as hereinafter stated. The Federal Fair Housing Act applies to
18
     Defendants’ apartment complex since it has more than 4 residential units. FHA
19
     standing is substantially broader than standing under the ADA due to the critically
20
     important need of adequate availability of housing for the disabled. A potential
21
     plaintiff is not even required to have an interest in renting a particular property or
22
     dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
23
     F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
24
     claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
25
     whether or not the target of the discrimination, can sue to recover for his or her own
26
     injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
27
     34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
28

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 1
     actually been denied to persons protected under the Act.” San Pedro Hotel v City of
 2
     Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
 3
     Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
 4
     and that the named Plaintiffs suffered monetary and other damages as a result. The
 5
     named Plaintiffs seek injunctive relief as well as damages, both of which are
 6
     available under 42 USC § 3613(c). Assuming arguendo in the present case, that
 7
     prospective injunctive relief was not available to Plaintiffs due to mootness or
 8
     otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
 9
     damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
10
     Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
11
     Thousand (3000) miles away and her injunctive claims became moot. However,
12
     Plaintiff’s claim for damages survived and was not affected]. In the present case,
13
     while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
14
     above Ninth Circuit Harris court authority makes it clear that those prudential
15
     standing requirements for injunctive relief are not applicable to Plaintiffs FHA
16
     damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
17
     prospective injunctive relief is not available. The present Plaintiff Club has
18
     organization standing separately on its own under the FHA. Additionally, under the
19
     FHA, Plaintiff Club has associational standing to assert its Club member claims
20
     since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
21
     Club and the named Individual Plaintiff have standing with respect to the following
22
     FHA claims.
23

24
     CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
25
     Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
26
     Train Staff, And Failure To Make The Policy Known To The Plaintiffs
27
     28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
28

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 1
     complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 2
     this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
 3
     rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
 4
     because of a handicap of (A) that buyer or renter; (B) a person residing in or
 5
     intending to reside in that dwelling after it is so sold, rented, or made available; or…
 6
     §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
 7
     v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
 8
     scheme permits disparate impact claims, and those type of claims do not require
 9
     intent]. due to Defendants’ communication and architectural barriers, Defendants
10
     discriminated against Plaintiffs by failing to have a policy, practice, or method for
11
     Plaintiffs to make a reasonable accommodation request for equal access to their
12
     rental services on their website or at their Property. Defendants have an affirmative
13
     duty to have a policy, process to receive such accommodation requests and to
14
     respond to said requests. See Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir.
15
     2003). As a result, Defendant caused Plaintiffs to suffer disparate impact
16
     discrimination.
17

18
     CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
19
     Housing Act And California Fair Employment And Housing Act
20
     29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
21
     complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
22
     section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
23
     engage in a good-faith interactive process to determine and to implement effective
24
     reasonable accommodations so that Plaintiffs could gain equal access Defendants’
25
     rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’ rental
26
     services both on or off the property and apartments.
27

28

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 1
     CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
 2
     30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 3
     complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 4
     this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
 5
     discriminate against any person in the terms, conditions, or privileges of sale or
 6
     rental of a dwelling, or in the provision of services or facilities in connection with
 7
     such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
 8
     above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
 9
     prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
10
     named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s rental
11
     services located on the Property or off-site are “services” in connection with the
12
     rental of a dwelling and the on-site or off-site rental services provided fall within the
13
     FHA statute. In the instant case, the named Plaintiffs both assert that Defendant’s
14
     failure to remove communication and architectural barriers to permit access to
15
     Defendant’s on-site rental services contained is a separate, independent, actionable
16
     violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
17
     predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
18
     physical barriers to access its rental services provided at the property. See ¶¶25 -26.
19
     The 9th Circuit Smith court stated that the mere observation of overt architectural
20
     barriers is actionable. Smith at 1104 [“To read an additional standing requirement
21
     into the statute beyond mere observation, however, ignores that many overtly
22
     discriminatory conditions, for example, lack of a ramped entryway, prohibit a
23
     disabled individual from forming the requisite intent or actual interest in renting or
24
     buying for the very reason that architectural barriers prevent them from viewing the
25
     whole property in the first instance” (emphasis in original)]. The Smith court found
26
     Defendants liable under this FHA subsection even though that case did not involve
27
     ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
28

                      17
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 1
     observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
 2
     Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
 3
     had actual knowledge of Defendants’ communication and architectural barriers and
 4
     Plaintiff LEE was deterred from obtaining equal access to Defendant’s rental
 5
     services located thereon. Defendants also discriminated against Plaintiffs by failing
 6
     to modify its practices and policies to provide access via other methods of access to
 7
     its rental services located on or off the property site. Defendant’s failure to remove
 8
     the architectural and communication barriers to access its facilities and the rental
 9
     services located thereon, or failure to provide an accommodation to provide methods
10
     of alternate access to their rental services, constitutes the prohibited discrimination,
11
     separately and independently. Additionally, Defendant’s conduct is also prohibited
12
     under ADA Title III and constitutes a second, separate, independent source of
13
     discrimination against Plaintiffs in violation of FHA § 3604(f)(2). Since Defendants
14
     discriminatory conduct involves Defendants’ rental facilities and its rental services
15
     located therein, Plaintiffs assert any discriminatory conduct found in violation of
16
     ADA Title III also constitutes prohibited “discrimination” under FHA § 3604(f)(2).
17
     CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
18
     31.   Plaintiffs do not make any claim against Defendants for a failure to “design
19
     and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
20
     above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
21
     Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
22
     that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
23
     to make reasonable accommodations in rules, policies, practices, or services, when
24
     such accommodations may be necessary to afford such person equal opportunity to
25
     use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
26
     Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
27
     repeated written and other requests for an accommodation to have equal access to its
28

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 1
     rental services.
 2
     CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
 3
     32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
 4
     elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
 5
     the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
 6
     respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
 7
     Defendants discriminated against them when Defendants made, printed, or
 8
     published, or caused to be made printed, or published notices, statements, or
 9
     advertisements (“NSA”) that suggest to an ordinary reader a preference to attract
10
     tenants without disabilities. Defendants' Internet advertising regarding its rental
11
     services has an unlawful disparate impact on Plaintiffs.
12

13
     SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
14
     33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
15
     Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
16
     elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
17
     reasonable accommodations in rules, policies, practices, or services in violation of
18
     CA Government Code sections 12927 and 12955.2, when these accommodations
19
     may be necessary to afford a disabled person equal opportunity to use and enjoy
20
     Defendants’ rental services. As stated in detail above, Defendants refused to make
21
     reasonable accommodations with the instant Plaintiffs and discriminated against each
22
     of them on the basis of disability.
23

24
     THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
25

26
     The Americans With Disabilities Act Of 1990

27
     34.   ADA Standing:

28

                        19
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 1
           ADA Title III does cover public and common use areas at housing
 2
     developments when these public areas are, by their nature, open to the general
 3
     public. An office providing rental services is open to the general public. (See U.S.
 4
     Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
 5
     Illustration 3, office on or off the site covered). The parking and paths of travel to
 6
     the office on or off the site are also covered. See Section III–1.2000, ADA Title III
 7
     Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
 8
     3: A private residential apartment complex contains a office on or off the site. The
 9
     office on or off the site is a place of public accommodation”). See Kalani v Castle
10
     Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
11
     Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
12
     (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
13
     present case, the named Plaintiffs have also sufficiently alleged that Defendants
14
     provide rental services at the property. Following prior sister Circuit Courts of
15
     Appeals decisions, our Ninth Circuit Court very recently held that an ADA Plaintiff
16
     can be only a “tester” and have standing. See Civil Rights Education & Enforcement
17
     Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017) [the Ninth
18
     Circuit CREEC court held (1) ADA “tester” standing is valid and a Plaintiff’s
19
     motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect doctrine” claim
20
     does not require a Plaintiff to have a personal encounter with the barrier to equal
21
     access, only to have knowledge of the barrier] citing Havens Realty Corp. v.
22
     Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific Properties
23
     and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004); Chapman v. Pier
24
     1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc); Houston v. Marod
25
     Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013); Colo. Cross Disability
26
     Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11 (10th Cir. 2014). In the
27
     present case, the named Plaintiffs each have ADA standing. Plaintiffs have alleged
28

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 1
     that Defendants discriminated against Plaintiffs in violation of ADA Title III statutes
 2
     and regulations as detailed further in the ADA claims stated below. As a result, the
 3
     named Plaintiffs have each suffered injury and each seek only injunctive and
 4
     declaratory relief pursuant to their ADA Claims.
 5
     CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
 6
     35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
 7
     may be necessary to ensure that no individual with a disability is excluded, denied
 8
     services, segregated or otherwise treated differently than other individuals because of
 9
     the absence of auxiliary aids and services, unless the entity can demonstrate that
10
     taking such steps would fundamentally alter the nature of the good, service, facility,
11
     privilege, advantage, or accommodation being offered or would result in an undue
12
     burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
13
     complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
14

15
     violated said provision. Plaintiffs set forth the factual basis for this claim most

16
     specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place

17
     of public accommodation, not services in a place of public accommodation. To limit

18
     the ADA to discrimination in the provision of services occurring on the premises of a
19   public accommodation would contradict the plain language of the statute.” Nat’l
20   Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
21   (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
22   1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
23   provides, it cannot discriminate on the basis of disability in providing enjoyment of
24   those goods and services”]). An ADA plaintiff may challenge a business’ online
25   offerings as well. So long as there is a “nexus”—that is, “some connection between
26   the good or service complained of and an actual physical place”—a plaintiff may
27   challenge the digital offerings of an otherwise physical business. See Gorecki v.
28

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 1
     Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:
 2
     CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
 3
     communication to the instant Plaintiffs and to people with disabilities. In the
 4
     present case, Plaintiffs experienced and have knowledge that Defendants failed to
 5
     have a required procedure to provide effective communication. Plaintiffs allege that
 6
     Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
 7
     did not provide any auxiliary aid and the Defendants did not provide any reasonable
 8
     accommodation to the overt and obvious communication barriers, and failed to
 9
     respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
10

11
     Defendants provide a specific reasonable accommodation or a specific auxiliary aid.

12
     ADA law allows the Defendants to decide what auxiliary aid and reasonable

13
     accommodation will be provided. In this case, however, Defendants failed to

14
     provide any reasonable accommodation for the overt and obvious communication

15   barriers to equal access to their rental services, failed to provide any auxiliary aid,
16   and failed to provide any effective communication. Plaintiffs allege that Defendants’
17   websites provide a contact number for the general public, but Defendants failed to
18   provide Plaintiffs with the required effective communication using texting or other
19   alternate means of communication for Plaintiffs and other people with a deaf
20   condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
21   Club’s members that have hearing disabilities and Club’s members with speech
22   disabilities. Defendants are required to provide, on Defendants’ websites, to provide
23   a method to effectively communicate with Plaintiff Club members that have hearing
24   and speech disabilities, and other people that are deaf or have speech impairments.
25   CLAIM II: Denial of Participation
26   36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to
27   subject an individual or class of individuals on the basis of a disability or disabilities
28

                      22
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 1
     of such individual or class, directly, or through contractual, licensing, or other
 2
     arrangements, to a denial of the opportunity of the individual or class to participate in
 3
     or benefit from the goods, services, facilities, privileges, advantages, or
 4
     accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
 5
     elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
 6
     Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
 7
     most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
 8
     violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
 9
     CLAIM III: Participation in Unequal Benefit
10

11
     37.   Defendants provide unequal benefit for people with disabilities in violation of

12
     42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts

13
     plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,

14
     believe, and thereon allege that Defendants discriminated against Plaintiffs in

15   violation of said provision. Plaintiffs set forth the factual basis for this claim most
16   specifically at ¶¶ 20-24 above.
17   CLAIM IV: Separate Benefit
18   38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
19   United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
20   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
21   believe, and thereon allege that Defendants discriminated against Plaintiffs in
22   violation of said provision. Plaintiffs set forth the factual basis for this claim most
23   specifically at ¶¶ 20-24 above.
24

25   CLAIM V: Integrated Settings
26   39.   Defendants’ rental services are not integrated for Plaintiffs and people with
27   disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §
28

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 1
     12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 2
     Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
 3
     against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
 4
     for this claim most specifically at ¶¶ 20-24 above.
 5
     CLAIM VI: Failure To Modify Practices, Policies And Procedures
 6
     40.   Defendants failed and refused to provide a reasonable alternative by
 7
     modifying its practices, policies, and procedures in that they failed to have a scheme,
 8
     plan, or design to accommodate Plaintiff Club, its Club members, the individual
 9
     named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
10
     services, at its websites and at the Property, in violation of 42 United States Code
11
     12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
12
     above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
13
     allege that Defendants discriminated against Plaintiffs in violation of said provision.
14
     Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
15
     CLAIM VII: Failure To Remove Architectural And Communication Barriers
16
     41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
17
     communication barriers as required in violation of 42 United States Code
18
     12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
19
     above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
20
     allege that Defendants discriminated against the named Individual Plaintiff in
21
     violation of said provision. Plaintiffs set forth the factual basis for this claim most
22
     specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
23
     reviewed all the information and photographs of Defendants’ property. As a result,
24
     the named Individual Plaintiff has actual knowledge of the physical and
25
     communication barriers that exist at Defendants’ Property. The named Individual
26
     Plaintiff determined that the physical barriers that exist at Defendants’ property,
27

28

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 1
     directly relate to his disabilities, and make it impossible or extremely difficult for
 2
     him to physically access Defendants’ rental services at the Property. The named
 3
     Individual Plaintiff was deterred by his actual knowledge of the physical and
 4
     communication barriers that exist at Defendants’ Property which include but are not
 5
     limited to the barriers to facilities and services for disabled parking, exterior path of
 6
     travel to the rental services at the property, entrance and interior, since said
 7
     Defendants’ facilities and rental services were not accessible because they failed to
 8
     comply with the Federal ADA Accessibility Guidelines (“ADAAG”) and California's
 9
     Title 24 Building Code Requirements. See ¶¶ 25 for details. The named Individual
10
     Plaintiff had actual knowledge of these barriers and determined that it would be
11
     futile gesture for him to go to the Property on the date that he had originally
12
     intended. The named Individual Plaintiff is currently deterred from returning due to
13
     his knowledge of the barriers. At the end of this action, the named Individual
14
     Plaintiff intends to return to Defendants’ property or off the site location to obtain
15
     rental information and verify that the communication and physical barriers to
16
     Defendants’ rental services are removed. Defendants failure to remove the barriers
17
     to equal access constitutes discrimination against the named Individual Plaintiff.
18
     CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
19
     42.   Defendants are required to make alterations to their facilities in such a manner
20
     that, to the maximum extent feasible, the altered portions of the facility are readily
21
     accessible to and usable by individuals with disabilities, including individuals who
22
     use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
23
     26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
24
     and thereon allege that Defendants violated this provision. Plaintiffs allege that
25
     Defendants altered their facility in a manner that affects or could affect the usability
26
     of the facility or a part of the facility after January 26, 1992. In performing the
27
     alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
28

                      25
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 1
     manner that, to the maximum extent feasible, the altered portions of the facility are
 2
     readily accessible to and usable by individuals with disabilities, including individuals
 3
     who use devices, in violation of 42 U.S.C. §12183(a)(2).
 4
     CLAIM IX: Administrative Methods
 5
     43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract
 6
     with website providers without making sure that the websites will be accessible to
 7
     people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42
 8
     U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
 9
     complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
10
     discriminated against the named Individual Plaintiff in violation of said provision.
11

12
     Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.

13
     CLAIM X: Screen Out
     44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened
14
     out Plaintiffs and other people with disabilities in violation of 42 United States Code
15

16
     12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26

17
     above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon

18
     allege that Defendants discriminated against the named Plaintiffs in violation of said

19
     provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8

20
     - 26 above. Defendants screened out the named Plaintiffs from its rental services and

21
     processes, because Defendants failed to remove architectural and communication

22
     barriers to its website and property, failed to provide required effective alternate
23   communication methods, and failed to provide required auxiliary aids.
24

25   CLAIM XI: Denial Of Full And Equal Access
26   45.   Defendants are required to provide full and equal access to Defendants' rental
27   services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
28

                      26
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 1
     United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
 2
     8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
 3
     thereon allege that Defendants discriminated against the named Plaintiffs in violation
 4
     of said provision. Plaintiffs set forth the factual basis for this claim most specifically
 5
     at ¶¶ 8 - 26 above.
 6

 7
     CLAIM XII: Failure To Investigate And Maintain Accessible Features
 8
     46.    Defendants made repairs and administrative changes which violated ADA and
 9
     its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible
10
     features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
11
     Defendants failed to provide and then maintain any accessible features in its parking,
12
     path of travel, on or off the property site for rental services and website rental
13

14
     services. Plaintiffs are informed, believe, and thereon allege that Defendants

15
     discriminated against the named Plaintiffs in violation of this provision.

16   CLAIM XIII: Association
17
     47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
18
     Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
19
     against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
20

21         DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
22          FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
23   PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
24                                 ACCESSIBILITY LAWS
25   CLAIM I: Denial Of Full And Equal Access
26   48. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
27   named Individual Plaintiff was denied full and equal access to Defendants' goods.
28

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 1
     services, facilities, privileges, advantages, or accommodations within a public
 2
     accommodation owned, leased, and/or operated by Defendants as required by Civil
 3
     Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
 4
     18-28 above.
 5
     CLAIM II: Failure To Modify Practices, Policies And Procedures
 6
     49.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 7
     the named Individual Plaintiff was denied full and equal access to Defendants' goods.
 8
     Defendants failed and refused to provide a reasonable alternative by modifying its
 9
     practices, policies, and procedures in that they failed to have a scheme, plan, or
10
     design to assist Plaintiff Members and/or others similarly situated in entering and
11
     utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
12
     this claim is at 18-28 above.
13
     CLAIM III: Violation Of The Unruh Act
14
     50.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
15
     the individual, the named Individual Plaintiff was denied full and equal access to
16
     Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
17
     failing to comply with Civil Code §51(f). Defendants' facility violated state
18
     disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
19
     Building Code by failing to provide equal access to Defendants’ facilities.
20
     Defendants did and continue to discriminate against Plaintiff Members in violation
21
     of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
22
                Treble Damages Pursuant To California Accessibility Laws
23
     51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
24
     only the named Individual Plaintiff prays for an award of treble damages against
25
     Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
26
     54.3(a). Defendants, each of them respectively, at times prior to and including the
27
     day the named Individual Plaintiff attempted patronized Defendants’ facilities and
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 1
     rental services, and continuing to the present time, knew that persons with physical
 2
     disabilities were denied their rights of equal access. Despite such knowledge,
 3
     Defendants, and each of them, failed and refused to take steps to comply with the
 4
     applicable access statutes; and despite knowledge of the resulting problems and
 5
     denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
 6
     and each of them, have failed and refused to take action to grant full and equal access
 7
     to the individual Plaintiff in the respects complained of hereinabove. Defendants,
 8
     and each of them, have carried out a course of conduct of refusing to respond to, or
 9
     correct complaints about, denial of disabled access and have refused to comply with
10
     their legal obligations to make Defendants’ public accommodation facilities and
11
     rental services accessible pursuant to the ADAAG and Title 24 of the California
12
     Code of Regulations (also known as the California Building Code). Such actions
13
     and continuing course of conduct by Defendants in conscious disregard of the rights
14
     and/or safety of the named Individual Plaintiff justify an award of treble damages
15
     pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
16

17
                         DEMAND FOR JUDGMENT FOR RELIEF:
18
     A.     All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
19
     42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
20
     pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
21
     this court to enjoin Defendants to cease their discriminatory practices in housing
22
     rental services, rental housing management services, and for Defendants to
23
     implement written policies and methods to respond to reasonable accommodation
24
     and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
25
     request this Court enjoin Defendants to remove all barriers to equal access to the
26
     disabled Plaintiffs in, at, or on their facilities, including but not limited to
27
     architectural and communicative barriers in the provision of Defendants’ rental
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 1
     services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
 2
     Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
 3
     not seek any relief at all pursuant to Cal. Civil Code §55.
 4
     B.    All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
 5
     However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
 6
     damages on behalf of its members;
 7
     C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
 8
     to Cal. Civil Code §§ 52 or 54.3;
 9
     D.    Only the named Individual Plaintiff seeks $4,000 in minimum statutory
10
     damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
11
     51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
12
     E.    In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
13
     C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
14
     damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
15
     § 54.1;
16
     F.    All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
17
     U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
18
     G.    Only the named individual Plaintiff seeks treble damages pursuant to Cal.
19
     Civil Code §§ 52(a) or 54.3(a);
20
     H.    The named Plaintiffs are seeking perspective injunctive relief to require the
21
     Defendants to provide obvious reasonable accommodations, to provide the required
22
     auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
23
     Defendants in the provision of Defendants’ rental services. Without perspective
24
     relief the Plaintiffs will suffer future harm.
25
     ///
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     ///
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     ///
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 1
     I.    All named Plaintiffs seek a Jury Trial and;
 2
     J.    For such other further relief as the court deems proper.
 3

 4   Respectfully submitted:
 5
                                                  LIGHTNING LAW, APC
 6
     Dated: February 10, 2024
 7
                                           By:    /s/David C. Wakefield
 8                                                DAVID C. WAKEFIELD, ESQ.
 9
                                                  Attorney for Plaintiffs

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                                                                       COMPLAINT
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